                    Case 23-10699-CTG             Doc 72       Filed 08/16/23        Page 1 of 4



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    AGSPRING, LLC, et al.,1                                  Case No. 23-10699-CTG

                                                             Jointly Administered

              Debtors.                                       Ref Docket No. 54



     ORDER (A) AUTHORIZING THE MAINTENANCE AND CLOSURE OF CERTAIN
     ACCOUNTS AND CONTINUED USE OF EXISTING CHECKS, (B) AUTHORIZING
     THE CONTINUED USE OF EXISTING CASH MANAGEMENT SYSTEM, AND (C)
     GRANTING LIMITED RELIEF FROM THE REQUIREMENTS OF BANKRUPTCY
                           CODE SECTION 345(B)

             Upon the Motion of the Debtors for Entry of an Order (A) Authorizing the Maintenance

and Closure of Certain Accounts and Continued Use of Existing Checks, (B) Authorizing the

Continued Use of Existing Cash Management System, and (C) Granting Limited Relief from the

Requirements of Bankruptcy Code Section 345(b) (the “Motion”)2 and upon the Declaration of

Kyle Sturgeon; and it appearing that this Court has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware dated February 29, 2012; and it appearing that the

Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that the Court may enter a final

order consistent with Article III of the United States Constitution; and it appearing that venue of

this proceeding and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and it appearing that sufficient notice of the Motion has been given; and good and sufficient cause

appearing therefor; it is hereby


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262). The
Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.
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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
US_ACTIVE\123747751\V-8
                Case 23-10699-CTG         Doc 72      Filed 08/16/23    Page 2 of 4



        ORDERED that the Motion is GRANTED as set forth herein; and it is further

        ORDERED that the Debtors are authorized, but not directed, to maintain and use their

existing Cash Management System, as more fully set forth in the Motion; and it is further

        ORDERED that the Debtors are authorized but not required to close some of the Bank

Accounts and transfer or deposit funds held in any closed Bank Account into the Main Account

and to withdraw funds from the Main Account by all usual means, subject to the same access rights

and limitations existing prior to the Petition Date, including, but not limited to, checks, wire

transfers, automated clearinghouse transfers, electronic funds transfers, and other debits, provided,

however, that the Debtors shall give the Office of the United States Trustee for Region 3 (“U.S.

Trustee”) fifteen (15) days’ notice prior to opening or closing a Bank Account; and it is further

        ORDERED that any new Bank Accounts must be opened at banks that have executed a

Uniform Depository Agreement (“UDA”) with the U.S. Trustee; and it is further

        ORDERED that upon entry of this Order, the Debtors shall immediately: (a) contact each

bank, (b) provide the bank with each of the Debtors’ employer identification numbers, (c) identify

each of their bank accounts held at such UDA banks as being held by a debtor in possession in a

bankruptcy case and provide the case number, and (d) serve a copy of this Order on the bank; and

it is further

        ORDERED that the Debtors are authorized to continue to use their pre-printed checks,

substantially in the forms existing immediately prior to the Petition Date, without reference to the

Debtors’ debtor-in- possession status; and it is further

        ORDERED that any bank maintaining the Bank Accounts is hereby authorized and

directed to continue to service and administer the Bank Accounts and the Main Account of the

Debtors as provided herein and in the Motion without interruption and in the usual and ordinary

course, and to receive, process, honor and pay any and all checks, drafts, wires, or ACH transfers

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US_ACTIVE\123747751\V-8
                Case 23-10699-CTG          Doc 72      Filed 08/16/23    Page 3 of 4



drawn by the holders or makers thereof, provided that nothing contained herein shall authorize the

honor of any check issued or dated prior to the date of the commencement of this case, except as

otherwise provided by further order of this Court. In no event shall any such bank, however, be

required to honor overdrafts or to pay any check, wire or other debit against any of the Bank

Accounts that is drawn against uncollected funds; and it is further

        ORDERED that the Debtors may continue to pay, and any bank that maintains Bank

Accounts may continue to charge and collect, all customary and usual prepetition and postpetition

fees arising from or related to the Bank Accounts; and it is further

        ORDERED that subject to Bankruptcy Code section 553, any bank that maintains the Bank

Accounts is prohibited from offsetting, affecting, freezing, or otherwise impeding the Debtors’ use

of any funds in the Bank Accounts on account of, or by reason of, any claim (as defined in

Bankruptcy Code section 101(5) of any such bank against the Debtors that arose before the Petition

Date, absent further order of this Court; and it is further

        ORDERED that nothing contained herein shall permit any bank to terminate any services

that comprise the Cash Management System without thirty (30) days prior written notice to the

Debtor, the UST, and any official committee appointed in this Chapter 11 Case; and it is further

        ORDERED that in connection with the ongoing utilization of the Cash Management

System, the Debtors shall continue to maintain detailed records in the ordinary course of business

with respect to all transfers so that all transactions (including any intercompany transactions) may

be readily ascertained, traced, recorded properly, and distinguished between prepetition and

postpetition transactions; and it is further

        ORDERED that nothing herein authorizes the Debtors to make transfers or loans to non-

debtor affiliates absent further order of the court; and it is further




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US_ACTIVE\123747751\V-8
                Case 23-10699-CTG        Doc 72      Filed 08/16/23     Page 4 of 4



        ORDERED that notwithstanding the possible applicability of Bankruptcy Rule 6004(h),

the terms and conditions of this Order shall be immediately effective and enforceable upon its

entry; and it is further

        ORDERED that the Court shall retain jurisdiction to hear and determine all matters

arising from or relating to the interpretation or implementation of this Order.




 Dated: August 16th, 2023                             CRAIG T. GOLDBLATT
 Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE




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US_ACTIVE\123747751\V-8
